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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS

    DEBORAH LAUFER,                        §
    Individually,                          §
                                           §
           Plaintiff,                      §
                                           §   Civil Action No. 1:20-CV-00588-RP
    v.                                     §
                                           §
    GALTESVAR OM, LLC,                     §
                                           §
            Defendant.                     §
                                           §
                                           §
                                           §


                 DEFENDANT’S RULE 12(b)(1) MOTION TO DISMISS


          Defendant Galtesvar OM, LLC (“Defendant” or “Galtesvar”) files this Motion

to Dismiss pursuant to Federal Rule of Civil Procedure 12(b)(1) and Brief in Support

Therof and respectfully shows the Court as follows:

                                   I.    SUMMARY

          This lawsuit is part of a judicial extortion campaign by Ms. Laufer and her

attorneys. She has filed numerous lawsuits around the country generally alleging

that an entity operating a hotel has violated the Americans with Disabilities Act

(“ADA”) via an allegedly non-compliant online reservation system. In this case, she

actually complains about Expedia, Hotels.com, Orbitz, Priceline and Agoda’s

websites, not Defendant’s website.1 There is no allegation that Defendant’s facility or



1   Complaint, ¶ 9.



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its own website is not compliant with the ADA. After filing the lawsuit, Ms. Laufer’s

lawyers contacted the defendants directly and offered to settle for a $5,000 payment

of costs and legal fees to Ms. Laufer’s attorneys. The demand is priced so that paying

legal fees to fight the lawsuit in federal court is not economically viable.

          Missing from the Complaint, however, is any concrete allegation of standing

by Ms. Laufer. By her own admission, the Plaintiff is a resident of Pasco County,

Florida.2 Defendant operates a Quality Inn & Suites in Carrizo Springs, Texas.

Plaintiff does not allege that she has ever travelled to Carrizo Springs, has any reason

to travel to Carrizo Springs, or ever intends in the future to travel to Carrizo Springs.

Accordingly, she does not allege a sufficiently concrete injury to support

constitutional standing.

          Courts around the country have started to catch onto this scheme and have

begun issuing sua sponte orders demanding that Ms. Laufer and her attorneys file

briefs to support that she has actual standing to pursue an ADA claim against a hotel

that she never had any intent to visit. For example, in the Northern District of New

York, Judge Sannes issued an order dated May 7, 2020.3 In this district, Magistrate

Judge Manske issued a similar order on May 19, 2020 for the Waco Division.4

          For the same reasons as courts have now begun to issue sua sponte orders to

show cause why Plaintiff’s many lawsuits should not be dismissed for lack of




2   Complaint, ¶ 1.
3   See Exhibit A (Northern District of New York Order dated May 7, 2020).
4   See Exhibit B (Western District of Texas (Waco Division) Order dated May 19, 2020).



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standing, Defendant in this case moves for the Court to dismiss this case pursuant to

Rule 12(b)(1).

                         II.    FACTUAL BACKGROUND

      Ms. Laufer has filed numerous lawsuits around the country generally alleging

that an entity operating a hotel has violated the Americans with Disabilities Act

(“ADA”). In this case, Ms. Laufer alleges non-compliant online reservation system.

She does not actually complain about Defendant’s website; she complains that

Expedia, Hotels.com, Orbitz, Priceline and Agoda’s websites (the “Websites”) do not

“comply” with the ADA; she does not really specify what the Websites failed to allow

her to do. Complaint, ¶ 9.

      After filing the lawsuit, Ms. Laufer’s attorney contacted the defendants and

offered to settle for a $5,000 payment of costs and legal fees to him.

      Ms. Laufer only alleges standing as a “tester.” She claims that she went to

these third-party websites and will return to the websites as her “harm.” Complaint

¶¶ 17-28. Ms. Laufer is a resident of Pasco County, Florida. Complaint, ¶ 1.

Defendant operates a Quality Inn & Suites in Carrizo Springs, Texas. Plaintiff does

not allege that she has ever travelled to Carrizo Springs. Plaintiff does not allege that

she has any reason to travel to Carrizo Springs. Plaintiff does not allege that she ever

intends in the future to travel to Carrizo Springs.

      In response to Ms. Laufer and her attorneys’ numerous lawsuits, courts have

begun issuing sua sponte orders regarding subject-matter jurisdiction and standing.

For example, in the Northern District of New York, Judge Sannes issued an order



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dated May 7, 2020, noting that “Plaintiff has 29, nearly identical, cases pending

against different defendants in the Northern District of New York.” See Exhibit A

(Order dated May 7, 2020). Judge Sannes found that “[t]here appears to be a serious

question as to whether Plaintiff has established standing, in this, or any of her other

cases, and thus whether the Court has subject matter jurisdiction over these actions.

See, e.g., Laufer v. Laxmi & Sons, LLC, 1:19-cv-01501 (BKS/ML) (Dkt. No. 15, at 7,

May 6, 2020) (“There are no facts in the Complaint or Plaintiff’s affidavit indicating

that she has ever traveled to Rensselaer, New York, or anywhere in New York, or

that she has any reason to travel anywhere in New York or any reason to seek lodging

anywhere in New York.”).” Exhibit A at 2. Judge Sannes then ordered that “before

taking any further action in this, or any other of Plaintiff’s cases, the Court orders

Plaintiff to submit a brief in each of the actions listed in Exhibit A, explaining why

the complaint should not be dismissed for lack of subject matter jurisdiction.” Id.

       In this district, Magistrate Judge Manske issued a similar order on May 19,

2020 for the Waco Division. See Exhibit B (Order dated May 19, 2020). “U.S. District

Judge Brenda K. Sannes entered an order requiring Plaintiff to submit a brief in each

of the 29 New York actions explaining why the complaint should not be dismissed for

lack of subject matter jurisdiction. The Court is of the opinion that a similar course

of action is warranted with respect to Plaintiff’s cases pending before the Waco

Division.” Id. at 2.

                       III.   ARGUMENT & AUTHORITIES

       Defendant moves to dismiss for lack of jurisdiction pursuant to Rule 12(b)(1)



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based on lack of Article III standing. The Court must dismiss a cause for lack of

subject matter jurisdiction “when the court lacks the statutory or constitutional

power to adjudicate the case.” Home Builders Ass’n of Miss., Inc. v. City of Madison,

Miss., 143 F.3d 1006, 1010 (5th Cir. 1998). A motion to dismiss for lack of Article III

standing is properly considered under Rule 12(b)(1). Harold H. Huggins Realty, Inc.

v. FNC, Inc., 634 F.3d 787, 795 n.2 (5th Cir. 2011). A motion to dismiss for lack of

jurisdiction under 12(b)(1) may be decided on: (1) the complaint alone; (2) the

complaint supplemented by undisputed evidence in the record; or (3) the complaint

supplemented by undisputed facts, plus the Court’s resolution of disputed facts.

Freeman v. United States, 556 F.3d 326, 334 (5th Cir. 2009). Unlike a 12(b)(6) motion,

the district court is empowered to consider matters outside the Complaint and

matters of fact that may be in dispute. Ramming v. United States, 281 F.3d 158, 161

(5th Cir. 2001). The party asserting jurisdiction—Plaintiff—bears the burden of

proving that jurisdiction exists. Id.

      Federal courts are courts of limited jurisdiction. Kokkonen v. Guardian Life

Ins. Co. of Am., 511 U.S. 375, 377 (1994). The standing doctrine concerns who may

properly bring a suit in federal court; the “irreducible constitutional minimum” of

such standing contains three elements. Lujan v. Defenders of Wildlife, 504 U.S. 555,

560 (1992). These elements are: (1) an injury in fact that is (a) concrete and

particularized and (b) actual or imminent, not conjectural or hypothetical; (2) a causal

connection between the injury and the conduct complained of; and (3) the likelihood

that a favorable decision will redress the injury. Croft v. Gov. of Tex., 562 F.3d 735,




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745 (5th Cir. 2009) (citing Lujan, 504 U.S. at 560–61). “The plaintiff, as the party

invoking federal jurisdiction, bears the burden of establishing these three elements.”

Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016). Specifically, as quoted by

Magistrate Judge Manske, “[t]he injury must be actual or imminent, not conjectural

or hypothetical.” Exhibit B at 2 (citing McCall v. Dretke, 390 F.3d 358, 361 (5th Cir.

2004)).

       Echoing both Judge Sannes and Magistrate Judge Manske’s Orders, nothing

in the complaint alleges any past, current or future connection with traveling through

or to Carrizo Springs, such that she might actually need an ADA compliant room at

Defendant’s Quality Inn & Suites. “Plaintiff seems to rely on her seemingly self-

conferred status as a ‘tester’ as a means of claiming standing.” Exhibit B at 2. While

some courts in the Western District have found “tester” plaintiffs can have standing

in the ADA context, see, e.g. Betancourt v. Ingram Park Mall, L.P., 735 F. Supp. 2d

587 (W.D. Tex. 2010), most courts evaluate whether future injury is probable by

determining whether the plaintiff is likely to return to the defendant’s business.

Deutsch v. Abijaoude, No. A-15-CV-975 LY, 2017 WL 913813, at *2 (W.D. Tex. Mar.

7, 2017); see also Exhibit B at 3. When analyzing a plaintiff’s likelihood of return,

courts usually consider:

       (1)     the proximity of the defendant’s business to the plaintiff’s residence;5
       (2)     the plaintiff’s past patronage of the defendant’s business;
       (3)     the definiteness of the plaintiff’s plans to return; and
       (4)     the plaintiff’s frequency of travel near the defendant.



5
 Defendant asks the court to take judicial notice that Pasco County, Florida and Carrizo Springs,
Texas are approximately 1,267 miles apart.



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Id. at *2-3; see also Exhibit B at 3. Plaintiff has alleged no facts to support any of

these factors. And establishing these factors is the Plaintiff’s burden. Ramming, 281

F.3d at 161. Accordingly, Defendant moves to dismiss this lawsuit for lack of subject-

matter jurisdiction pursuant to Rule 12(b)(1) because Plaintiff has failed to

demonstrate her Article III standing.

                            CONCLUSION & PRAYER

      For the foregoing reasons, Defendant respectfully requests that the Court

grant its Motion to Dismiss and dismiss Plaintiff’s Complaint. Defendant also

requests all further relief in law or in equity to which they may show themselves to

be justly entitled including a reasonable award of attorneys’ fees and costs.



      July 13, 2020

                                        Respectfully submitted,


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                          CERTIFICATE OF SERVICE


     I hereby certify that a true and correct copy of the above and foregoing
document was served via ECF on all counsel of record this 13th day of July, 2020.


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